      Case 1:24-cv-03188-RC       Document 39-1   Filed 03/17/25   Page 1 of 7




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

                    Plaintiff,

       v.

ROBERT F. KENNEDY, JR., in his official
capacity, and U.S. DEPARTMENT OF HEALTH
                                                    Civil Action No. 1:24-cv-3188
AND HUMAN SERVICES,

and

THOMAS J. ENGELS, in his official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

                    Defendants.


 MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO STRIKE PORTIONS
 OF PROPOSED AMICUS BRIEF THAT RELY UPON EXTRA-RECORD MATERIAL
         Case 1:24-cv-03188-RC         Document 39-1       Filed 03/17/25      Page 2 of 7




         Plaintiff Johnson & Johnson Health Care Systems Inc. (“J&J”) respectfully moves the

Court to strike the extra-record material filed as part of the proposed Amici Curiae Brief of

American Hospital Association (“AHA”), National Association of Children’s Hospitals, Inc., d/b/a

Children’s Hospital Association, Association of American Medical Colleges, and America’s

Essential Hospitals (“AHA Brief”), ECF No. 33-1. Specifically, J&J moves to strike all portions

of the AHA Brief that discuss the responses from a survey of hospitals that AHA claims it

conducted, as discussed on pages 4 and 19-23 of the AHA Brief. Although J&J took no position

on the proposed Amici’s pending motion for leave to file the AHA Brief, for the reasons set forth

below, any reference in the proposed brief to the survey results should now be struck because the

materials are not part of the Administrative Record for the agency action in this case.

         Defendants have filed and certified with the Court the Administrative Record that the

Health Resources and Services Administration (“HRSA”) relied on when it purported to reject

J&J’s plan to offer 340B pricing for certain drug sales through a rebate model rather than an

upfront discount. See Certification of Administrative Record, ECF No. 17. The Administrative

Record is 647 pages long and contains, inter alia, comments from many stakeholders—including

AHA, the Association of American Medical Colleges, and America’s Essential Hospitals—sharing

their views about supposed impacts of J&J’s rebate model. See AR564, AR570-AR579, AR640-

AR645. 1 Proposed Amici had ample opportunity to submit to HRSA any information they wished

about J&J’s rebate model—including any survey results—during the agency’s decision-making

process.     They may not now supplement the Administrative Record, particularly when the

proffered survey results are facially unreliable.




1
    “AR” citations refer to the Administrative Record.


                                                    2
       Case 1:24-cv-03188-RC           Document 39-1        Filed 03/17/25      Page 3 of 7




       Judicial review of Administrative Procedure Act (“APA”) claims must be limited to the

materials that were “before the agency at the time the decision was made.” Am. Bottling Co. v.

NLRB, 992 F.3d 1129, 1140 (D.C. Cir. 2021) (quoting Env’t Def. Fund, Inc. v. Costle, 657 F.2d

275, 284 (D.C. Cir. 1981)); Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 743-44 (1985) (citing

Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402, 419-20 (1971)). Proposed Amici

concede that their survey was conducted after this case was filed, and they make no claim that any

of the results were ever put before HRSA. See AHA Brief at 19 (“The [AHA] surveyed its

membership while preparing this amicus brief.” (emphasis added)). As a result, consideration of

the survey results would exceed the proper scope of judicial review under the APA. See Oceana,

Inc. v. Locke, 674 F. Supp. 2d 39, 44-45 (D.D.C. 2009) (granting motion to strike testimony that

post-dated agency decision); see also IMS, P.C. v. Alvarez, 129 F.3d 618, 623-24 (D.C. Cir. 1997)

(granting motion to strike extra-record affidavits submitted with brief).

       Notably, this Court has previously rejected a nearly identical attempt by amici to inject

extra-record “survey results and material showing harm to certain covered entities” into an APA

case concerning HRSA’s interpretations of the 340B statute. PhRMA v. HHS, 43 F. Supp. 3d 28,

34 n.6 (D.D.C. 2014) (Orphan Drug) (Contreras, J.). In Orphan Drug, covered entity associations

submitted a declaration that attached the results of a survey of providers that purported to speak to

harm from the relief sought in the litigation. See id. This Court found that such materials were

“not relevant to the Court’s analysis of the statute” and thus gave them no weight. Id. However,

the Court additionally made clear that if the materials had been “relevant to the Court’s merits

analysis, … they would be stricken” as an improper attempt to “supplement the administrative

record.” Id. As the Court explained, “it is black-letter administrative law that in an APA case, a

reviewing court should have before it neither more nor less information than did the agency when




                                                 3
       Case 1:24-cv-03188-RC           Document 39-1        Filed 03/17/25       Page 4 of 7




it made its decision.” Id. (quoting Hill Dermaceuticals, Inc. v. FDA, 709 F.3d 44, 47 (D.C. Cir.

2013)). Precisely the same reasoning applies here. AHA’s extra-record survey results are not

properly part of the record and may not be considered in the Court’s resolution of this case.

       In addition, as in Orphan Drug, the Court should decline to give any weight to these survey

results, for several reasons. First, proposed Amici’s submission does not even meet the low

standard of reliability of the materials from Orphan Drug, which at least consisted of complete set

of results from a survey of providers. See 43 F. Supp. 3d at 34 n.6; Exhibit 2, SNHPA Survey

Results, PhRMA v. HHS, 1:13-cv-01501 (D.D.C. Dec. 20, 2013), ECF No. 29-3. The AHA Brief,

in contrast, provides cherry-picked anecdotes without including the actual responses of AHA’s

members to the survey, or key details such as the questions that were asked, how many members

were canvassed, how many responded, and what percentage of the responses were consistent with

the anecdotes that amici plucked for inclusion in their brief. 2 These deficiencies deprive the survey

results of any probative value.

       Moreover, the AHA Brief’s hearsay claims that proposed Amici’s members will face

financial or administrative burdens from the rebate model are inconsistent with other evidence that

is properly in the Administrative Record. See AR59-AR60, AR75-AR77, AR86, AR193, AR208,

AR242-AR243 (reflecting that the Rebate Model would utilize standard claims data that covered

entities already collect in the normal course of business and data elements that covered entities

currently submit to payers in the reimbursement process); AR59, AR62, AR75, AR95, AR198,

AR199, AR208-AR209, AR244 (explaining that covered entity claims will be processed and


2
  The unverified and contested status of the survey results means that they could not be considered
by the Court as a matter of judicial notice, given that they are subject to dispute, and do not convey
information that either is “generally known” or “can be accurately and readily determined from
sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b); see also Cnty.
of San Miguel v. Kempthorne, 587 F. Supp. 2d 64, 78-79 (D.D.C. 2008) (denying motion to take
judicial notice of extra-record report that post-dated the challenged agency action).


                                                  4
       Case 1:24-cv-03188-RC          Document 39-1         Filed 03/17/25      Page 5 of 7




rebates will be paid within seven to ten days of claim submission under J&J’s Rebate Model as

proposed, such that covered entities that file timely claims data for eligible sales should receive

340B pricing before payment is due to the wholesaler under standard payment terms). Proposed

Amici’s unreliable survey results should not be permitted to counter or displace evidentiary

material that was properly and timely offered to the agency in its decision-making process, and

therefore was—or should have been—considered by the agency in rendering its decision.

       As noted, J&J did not oppose proposed Amici’s motion for leave to file a brief in this case,

see ECF No. 33, and does not object to proposed Amici filing the remaining portions of their brief,

should the Court grant their motion for leave. However, Amici cannot use their participation in

this case to supplement the Administrative Record post-hoc. Because the Agency did not consider

AHA’s survey results as part of the Administrative Record, J&J respectfully requests that this

Court strike any reference to the survey results, as well as the portions of the AHA Brief relying

on this extra-record information. 3




3
  J&J likewise objects to similar extra-record claims about the impact of J&J’s rebate model on
covered entities in the proposed brief submitted by state and regional hospital associations. See
Proposed Amicus Br. of State and Regional Hospital Associations as Amici Curiae in Supp. of
Defs., ECF No. 38-1, at 1, 3, 24. These unsubstantiated claims should also be disregarded. To the
extent that other amicus briefs that have been or will be filed in this case similarly rely on extra-
record materials, the Court should also strike or disregard those materials when adjudicating the
parties’ summary judgment motions.


                                                 5
     Case 1:24-cv-03188-RC   Document 39-1    Filed 03/17/25    Page 6 of 7




DATED: March 17, 2025


                                   Respectfully submitted,

                                   /s/ Jeffrey L. Handwerker
                                   Jeffrey L. Handwerker (D.C. Bar No. 451913)
                                   jeffrey.handwerker@arnoldporter.com
                                   Samuel I. Ferenc (D.C. Bar No. 1616595)
                                   sam.ferenc@arnoldporter.com
                                   ARNOLD & PORTER KAYE SCHOLER LLP
                                   601 Massachusetts Ave., NW
                                   Washington, DC 20001-3743
                                   Tel: (202) 942-5000

                                   Paula R. Ramer (admitted pro hac vice)
                                   paula.ramer@arnoldporter.com
                                   ARNOLD & PORTER KAYE SCHOLER LLP
                                   250 West 55th Street
                                   New York, NY 10019-9710
                                   Tel: (212) 836-8000

                                   Counsel for Plaintiff Johnson & Johnson Health
                                   Care Systems Inc.




                                     6
       Case 1:24-cv-03188-RC          Document 39-1          Filed 03/17/25   Page 7 of 7




                                 CERTIFICATE OF SERVICE

       I certify that on March 17, 2025, I filed the foregoing with the Clerk of the Court using

the ECF System, which will send notification of such filing to the registered participants

identified on the Notice of Electronic Filing.

                                                 /s/ Jeffrey L. Handwerker
                                                 Jeffrey L. Handwerker




                                                    7
